Case 3:17-cv-05769-RJB Document 229-2 Filed 01/02/20 Page 1 of 9




          EXHIBIT C
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page1 2ofof8 9
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page2 3ofof8 9
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page3 4ofof8 9
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page4 5ofof8 9
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page5 6ofof8 9
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page6 7ofof8 9
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page7 8ofof8 9
Case
 Case3:17-cv-05769-RJB
       3:17-cv-05806-RJB Document
                          Document229-2 Filed08/03/18
                                   91 Filed   01/02/20 Page
                                                        Page8 9ofof8 9
